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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


MICHAEL ABRAMOWITZ, et al.,

               Plaintiffs,

       v.
                                                         Civil Action No. 25-0887 (RCL)
KARI LAKE,
Senior Advisor to the Acting CEO of the U.S.
Agency for Global Media, et al.,

               Defendants.


    OPPOSITION TO PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE

       Defendants—Kari Lake, in her official capacity as Senior Advisor to the Acting Chief

Executive Officer (“CEO”) of the U.S. Agency for Global Media, Victor Morales, in his official

capacity as Acting CEO, and Global Media—through undersigned counsel, file this opposition to

Plaintiffs’ motion (“Pls.’ Mot.,” ECF No. 37) for an order to show cause as to Defendants’

compliance with the third prong of the Court’s April 22, 2025, preliminary injunction regarding

Voice of America. See April 22, 2025, Order at 3 (ECF No. 29). Simply put, Voice of America is

meeting its statutory obligations under the International Broadcasting Act (hereinafter the “Act”)

and is complying with the Court’s requirement that it serve, pursuant to its statutory mandate, as a

“consistently reliable and authoritative source of news.” Id.; see 22 U.S.C. § 6202(c). Plaintiffs

motion does not—because it cannot—identity a single statutory provision with which they claim

that Voice of America has failed to comply. Instead, they point to generalized disagreements with

the direction in which Voice of America is headed. That Plaintiffs disagree with the management

and priorities of Voice of America does not change this outcome; the President has wide latitude

in setting administration priorities, and the Act affords Voice of America and the U.S. Agency for
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Global Media wide discretion in determining how and what news to broadcast. The Court should

swiftly decline Plaintiffs’ invitation to further micromanage the affairs of an executive agency.

                                   STANDARD OF REVIEW

       A court asked to enforce a prior order should only grant the motion when a “prevailing

plaintiff demonstrates that a defendant has not complied with a [prior order] entered against it.”

Heartland Hosp. v. Thompson, 328 F. Supp. 2d 8, 11 (D.D.C. 2004). At all times, the Court should

demand an appropriate showing before granting any relief and wield its powers with care and due

recognition for enforcing its command without any gloss. See Flaherty v. Pritzker, 17 F. Supp. 3d

52, 55 (D.D.C. 2014) (cleaned up); Int’l Ladies’ Garment Workers’ Union v. Donovan, 733 F.2d

920, 922 (D.C. Cir. 1984). That is especially so when matters of interbranch comity are at issue.

The central question is whether the plaintiff has “received all relief required” by the Court’s prior

order. Heartland Hosp., 328 F. Supp. 2d at 11.

                                          ARGUMENT

       The gravamen of Plaintiffs’ complaint is that Voice of America is not operating at the level

that it did during the last administration. See generally Pls.’ Mot. But that cannot—and is not—

the measure of statutory compliance. The “policies” (see 22 U.S.C. § 6202(c)) of the United States

are set by the President. The President, pursuant to his authority, has determined that Voice of

America—while continuing to operate—will do so at its statutory minimum. Importantly, the

March 14, 2025, Executive Order does not prevent Voice of America from fulfilling these statutory

principles, but rather has changed the way in which that mission is accomplished. At bottom,

although Plaintiffs may be unhappy with that decision, they are not entitled to dictate how Voice

of America is run and the news it chooses to broadcast.




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       As explained in the attached declarations of Leili Soltani (“Soltani Decl.”) and Jeffrey

Reber (“Reber Decl.”), Voice of America has determined that to comply with the March 14, 2025,

Executive Order, Voice of America will broadcast in short wave radio transmissions, produce daily

web stories, and produce content (both written and digital) in four languages in addition to the

existing broadcasting occurring through the Office of Cuba Broadcasting. See Soltani Decl. ¶¶ 3-

8 (explaining the responsibilities of the Persian, Mandarin, Pashto, and Dari Language Services);

see also 2d Declaration of Crystal Thomas ¶¶ 6-7 (“Thomas Decl.,” ECF No. 24-4) (explaining

the Office of Cuba Broadcasting). Contrary to any suggestion by Plaintiffs, Voice of America staff

solely decides the substance of all content put out by Voice of America. Soltani Decl. ¶ 3.

       Plaintiffs assert that the situation “today” remains the same, if not “worse” from when the

Court entered its injunction on April 22 with respect to operations at Voice of America. Pls.’ Mot.

at 5. This is incorrect. Since entry of the Court’s injunction, Voice of America has resumed

broadcasting in four language services as identified by the Act: Dari, Pashto, Farsi, and Mandarin.

See Soltani Decl. ¶ 3; see also 22 U.S.C. §§ 6208 (establishing Radio Free Asia); 6215 (identifying

Dari and Pashto broadcasting services as part of Radio Free Afghanistan); see also Pub. L. 111–

84 (2009) (expanding Farsi language programming); see also Pls.’ Mot. at 8 (requesting that the

Court order Defendants to explain how Defendants have restored Voice of America programming

such that it is consistent with its statutory requirements). As explained in the attached declarations,

Voice of America is utilizing thirty journalists to produce their programming and content. Soltani

Decl. ¶ 3. These journalists work with Central News, the arm of Voice of America that streamlines




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and coordinates the four language services. Id. Notably, and consistent with the Act’s statutory

firewall,1 these journalists are responsible for range of content, production, and support services.

       Although Plaintiffs attempt to paint a picture that Voice of America remains dark, that is

inaccurate. In Central News, Voice of America is producing five web stories of 300 to 500 words

in length per day, five days each week. Soltani Decl. ¶ 4. These stories focus on the main news of

the day and stories of interest to all language services. Each story is translated and posted on

language service websites and updated as needed. Id. Central News additionally finds or creates

images used on all web stories and daily editorials. Central News also produces four to five short

broadcast scripts of forty-five seconds of copy, five days per week, for use by language service

radio shows. Id. In addition, as needed, Central News assists with video production. Id.

       The attached Soltani Declaration also details what each of the language services are

producing with respect to their content. See Soltani Decl. ¶¶ 5-8. For example, the Persian

Language Service, which produces news content for the Voice of America in the Persian language,

produces two daily TV news reports in Persian and English each day, five days a week. Id. ¶ 5.

The Persian Language Service also writes or translates five to seven daily text news items, and

content is posted on the language service website or distributed through social media (Instagram,

X, Facebook, Telegram, and YouTube). Id. For the week of May 26 through 30, 2025, the internet

managing editor for the Persian Language Service reported that the website recorded 743.6k visits,

with 949.1k article views and 27.8k video views. Id. During the same period, the internet managing

editor for the Persian Language Service reported that the Persian Language Service recorded 10.8k




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        Plaintiffs request that the Court order Defendants to explain how they are complying with
the statutory firewall (Pls.’ Mot. at 8) but they present no evidence that Defendants are violating
the statutory firewall, and the supporting declarations attached herein establish otherwise.


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engagements (defined as likes, shares, saves, clicks, mentions and comments) on Facebook, 392.7k

engagements on Instagram, 3.6k engagements on X, and 18.2k engagements on YouTube. Id.

       The Mandarin Language Service, which produces news content for Voice of America in

the Mandarin language, publishes five to nine news stories five days each week, and produces one

video news package, adapted from the video packages produced by the Persian Language Service.

Soltani Decl. ¶ 6. It also translates and publishes one or two Global Media-produced editorials,

depending on the number of editorials provided by the Office of Editorials at Global Media, on

the days that they are published. Id. Content is posted on the language service website, or

distributed through social media (Instagram, X, Facebook, Telegram, YouTube, Threads, and

WhatsApp). For the week of May 26 through 30, 2025, the internet managing editor for the

Mandarin Language Service reported that the website recorded 426.6k visits, with 566.5k article

views and 31.8k video views. Id. During the same period, the internet managing editor for the

Mandarin Language Service reported that the Mandarin Language Service recorded 1.9k

engagements on Facebook, 0.3k engagements on Instagram, 25.8k engagements on X, and 20k

engagements on YouTube. Id.

       The Dari Language Service, which produces news content for Voice of America in the

Dari language, produces a 2.5-minute radio show every day, five days per week. Soltani Decl.

¶ 7. It also produces at least seven web articles and one TV package—adapted from the video

packages produced by the Persian Language Service —every day, five days per week. Id. For the

week of May 26 through 30, 2025, the internet managing editor for the Dari Language Service

reported that the website recorded 9.9k visits, with 7.5k article views and 0.5k video views. Id.

During the same period, the internet managing editor for the Dari Language Service reported that




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the Dari Language Service recorded 26.2k engagements on Facebook, 2.1k engagements on

Instagram, 0.6k engagements on X, and 4k engagements on YouTube. Id.

       Finally, the Pashto Language Service, which produces news content for Voice of America

 in the Pashto language, produces a two-and-a-half-minute radio show five days per week.

 Soltani Decl. ¶ 8. It additionally produces two original stories for web, translates five articles

 for web provided by Central News, and produces one TV package —adapted from the video

 packages produced by the Persian Language Service—five days per week. Id. In addition to

 radio, which is similarly distributed to four FM Afghan radio affiliates, content is distributed via

 the language service website and on social media (Instagram, X, Facebook, and YouTube). Id.

 For the week of May 26 through 30, 2025, the internet managing editor for the Pashto Language

 Service reported that the website recorded 13.4k visits, with 9.5k article views and 1.3k video

 views. Id During the same period, the internet managing editor for the Pashto Language Service

 reported that the Pashto Language Service recorded 53.5k engagements on Facebook, 0.3k

 engagements on Instagram, and 2k engagements on YouTube. Id.

       In addition to the digital and written content described above, Voice of America has also

resumed radio transmission services, including short wave and FM transmission services to

Afghanistan. See Reber Decl. ¶¶ 3, 4. This show currently airs on four FM Afghan radio stations:

FM Radio Raihan (estimated audience of 120,000 in the center of the Takhar province and sixteen

of its districts, including Khan Abad district in the Kunduz province); FM Pamir Radio (estimated

audience of 400,000 in Badakhshan provice, including Fayzabad city, Argo, Khash, Yaftal-e Bala,

Yaftal-e Payin, and Arghanjkhwah); FM Radio Sar E Pul (estimated audience of 150,000 in

Sarepul City, District of Sayed, District Soz Ma Gala, District Sayed Abad); and FM Mehran Radio

(estimated audience of 65,000 in Jawzjan province, including Aqcha, Khwaja Dukoh, Mardian,




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and Khanqah, Northern Afghanistan). Id. ¶ 4. It is also broadcast on shortwave radio that reaches

all of Afghanistan, though large amounts of electricity and electronics interfere with shortwave

signal, making it difficult for any audience in urban areas to receive. Id. As the Reber Declaration

also explains, Voice of America is in the process of resuming TV broadcasting, and current staff

in the building consists of three TV Techs and one Automation Director/Supervisor, who are

system testing and preparing the Agency’s TV studios for a return to programming. Id. ¶ 3.

       Plaintiffs suggest that Voice of America is no longer reaching a significant audience

because it is not broadcasting at the levels it once did, but their perspective is misguided. The

numbers identified in the Soltani Declaration amply establish that Voice of America is consistently

operating within its statutory mandate to “reach a significant audience.” 22 U.S.C. § 6202(a)(7).

       Although it may be true that Voice of America is not broadcasting on the same scale it

previously was, there is no dispute that the Act leaves broad discretion to the agency to determine

the measure of compliance with its statutory commands. Critically, the Court’s injunction does

not curtail Voice of America’s exercise of discretion. See Order (ECF No. 29) at 3. And there is

further no dispute that this Court, rightfully so, declined to instruct Voice of America as to how it

should restore its programming to “serve as a consistently reliable and authoritative source of

news.” Id. It should once again decline to do so. Plaintiffs fail to quantify what is required by

statute, other than voicing their disagreement that under any standard, Voice of America apparently

fails to meet it. Their position cannot be squared with the discretion the Act affords Global Media

and Voice of America, or the agency’s mandate to comply with the Executive Order. Rather than

accepting Defendants’ good faith representations and efforts at compliance, Plaintiffs’ cry foul

without reason.




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        Merriam Webster defines “significant,” as (among others), “of a noticeably or measurably

large       amount.”        Significant,       Merriam         Webster,         https://www.merriam-

webster.com/dictionary/significant#:~:text=:%20having%20or%20likely%20to%20have,a%20si

gnificant%20number%20of%20layoffs (last visited June 3, 2025). Undoubtedly, the entity best

suited to determine what a “significant audience” entails, and how to effectuate that mission, rests

with Voice of America and Global Media—not the Plaintiffs. Voice of America, though on a

smaller scale, continues to serve and reach a significant audience with reliable, authoritative news.

“Significant” is not defined within the statute. It is certainly a reasonable reading of the Act to

measure “significant” not only as the size of the audience, but also the status of the audience—i.e.,

to whom the news is being broadcast. For example, if individuals of significance—be it

government leadership, for example—receive the news, that is also a measure of “significant”

reach. Plaintiffs, for their part, do not argue to the contrary. They do not assert that any of the news

coverage produced by Voice of America is either unreliable or lacks authority. Instead, they state

that Voice of America by law, must “broadcast truthful, impartial news and reach significant

audiences.” Pls.’ Mot. at 6. Yet their motion is stunningly silent in pointing to any concrete

examples of news they believe violates these statutory mandates.

        Plaintiffs demand that the Court order Defendants to explain how it can perform its

statutory functions with a small percentage of its previous overall workforce, but Plaintiffs cannot

point to any statutory mandate that requires Voice of America to employ a certain number of

journalists or even personal services contractors. And though this Court previously ordered that

Defendants re-instate all employees as the agency existed before the March 14, 2025, Executive

Order, that portion of the Court’s injunction has been stayed pending appeal by the D.C. Circuit.

See Widakuswara v. Lake, No. 25-5144 (D.C. Cir.), Per Curiam Order (Dkt No. 2114139). At




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bottom, Plaintiffs cannot and should not be able to dictate how Voice of America makes personnel

decisions regarding hiring, firing, and reassigning its work force.

       Along the same vein, Plaintiffs also demand insight into Voice of America’s spending and

appropriations. Although it may be true that Congress has appropriated certain funds to Voice of

America, Voice of America has resumed its operations, has a lean staff of employees, and is

operating in accordance with the President’s Executive Order. Here, Plaintiffs, have failed to show

that the funds appropriated are not being used as authorized by any statute. Merely reducing the

size of Global Media, including the Voice of America, does not equate to a violation of the

Appropriations and Spending Clause, or a violation of the Court’s injunction.

       Considering Defendants’ resumption of programming and its compliance with this Court’s

injunction, the Court should deny Plaintiffs motion for an order to show cause. The Court’s

injunction did not dictate the contours of compliance with the Act’s statutory mandates, and the

Court should continue to allow the agency to manage its own affairs without undue intrusion.

                                         CONCLUSION

       For these reasons, the Court should deny Plaintiffs’ motion.

 Dated: June 4, 2025                            Respectfully submitted,
 Washington, D.C.
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                                                United States Attorney

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